                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION – DETROIT

IN THE MATTER OF:
Joseph G. DuMouchelle, and                  Bankruptcy Case No. 19-54531
Melinda J. Adducci                          Honorable Phillip J. Shefferly
                                            Chapter 7
                   Debtors.

MOTION FOR ENTRY OF ORDER AUTHORIZING TRUSTEE TO SELL
 REAL PROPERTY FREE AND CLEAR OF LIENS, TO COMPENSATE
 BROKER AT CLOSING, AND FOR ADDITIONAL RELATED RELIEF

      NOW COMES Chapter 7 Trustee Fred J. Dery (“Trustee”), by and through

his counsel Stevenson & Bullock, P.L.C., and files this Motion for Entry of Order

Authorizing Trustee to Sell Real Property Free and Clear of Liens, to Compensate

Broker at Closing, and for Additional Related Relief (“Motion”) and requests that

this Court enter an order substantially in the form attached hereto as Exhibit 1.

      Trustee, through his counsel, in support of his Motion, states:

                                 JURISDICTION

      1.     This Court has jurisdiction over this motion pursuant to 28 U.S.C. §§

157(a)-(b) and 1334(b). This is a core proceeding pursuant to 28 U.S.C. § 157(b).

      2.     Venue is proper under 28 U.S.C. § 1408 and 1409.

      3.     Trustee brings this Motion pursuant to 11 U.S.C. §§ 105 and 363 and

E.D. Mich. LBR 9014-1.




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                                       FACTS

      4.       On October 11, 2019 (the “Petition Date”), the debtors, Joseph G.

DuMouchelle, and Melinda J. Adducci (collectively, the “Debtors”), filed a

voluntary petition for relief under Chapter 11 of Title 11, United States Code (the

“Bankruptcy Code”).

      5.       On December 4, 2019, the bankruptcy case was converted to one

under Chapter 7 of the Bankruptcy Code pursuant to the Order Converting Case to

Chapter 7 (the “Conversion Order”) [Docket No. 57].

      6.       The Trustee is the duly qualified and permanent trustee in this Chapter

7 case and over the bankruptcy estate (the “Estate” or “Bankruptcy Estate”).

      7.       The Debtors own the real property commonly known as 345 Cowry

Court, Sanibel, FL 33957 (the “Real Property”). The legal description of the Real

Property is:

      The following described Land in the City of Sanibel, County of Lee, State of
Florida, described as follows:

               Lot 5, South Capers Subdivision according to the plat thereof
               recorded in Plat Book 41, Pages 79 to 81, inclusive, Public
               Records of Lee County Florida

               Property Tax ID #:       25-46-22-T3-01800.0050

               Commonly known as 345 Cowry Court, Sanibel, FL 33957

      8.       The Real Property is property of the bankruptcy estate (the “Estate”).

11 U.S.C. § 541(a).


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      9.       The Trustee is charged with the duty to administer assets of the Estate

pursuant to 11 U.S.C. § 704.

      10.      Upon information and belief, the Lee County Treasurer and the City

of Sanibel may assert that they are the holders of claims that are secured by the

Real Property for unpaid real property taxes. Moreover, Finemark National Bank

& Trust asserts that it is the holder of a secured claim against the Real Property.

      11.      The Trustee has retained John R. Wood Properties as real estate agent

and broker (the “Broker”) as real estate broker in the above captioned case [Docket

No. 96].

      12.      The Trustee, through Broker, has received the following offer (the

“Offer”) to purchase the Real Property:

      Purchaser: Jesse Chase (the “Purchaser”)

      Offer:         $785,000.00

      Terms:         Pursuant to the terms and conditions contained in the Purchase
                     Agreement, a copy of which are attached as Exhibit 6A.

                               LEGAL AUTHORITY

      13.      Section 363 of the Bankruptcy Code specifically authorizes sales of

property of the Estate.

      14.      Specifically, § 363(b) provides “[t]he trustee, after notice and a

hearing, may use, sell, or lease, other than in the ordinary course of business,

property of the estate […].”


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      15.    Furthermore, § 363(f) of the Bankruptcy Code provides for the sale of

property of the estate “free and clear of any interest in such property of an entity

other than the estate,” if one of the following conditions is met:

             (1)  applicable non-bankruptcy law permits sale of such property
                  free and clear of such interests;
            (2) such entity consents;
            (3) such interest is a lien and the price at which such property is to
                  be sold is greater than the aggregate value of all liens on such
                  property;
            (4) such interest is in bona fide dispute; or
            (5) such entity could be compelled, in a legal or equitable
                  proceeding, to accept a money satisfaction of such interest.
      11 U.S.C. § 363(f).

      16.    Section 363(f) of the Bankruptcy Code is drafted in the disjunctive.

Thus, satisfaction of any one of the requirements enumerated therein is sufficient

for the sale of the Real Property free and clear of all Liens, except with respect to

any interests that are liabilities to be assumed under the Purchase Agreement, as

amended. See In re Gulf States Steel, Inc. of Alabama, 285 B.R. 497, 506 (Bankr.

N.D. Ala. 2002); Citicorp Homeowners Servs., Inc. v. Elliot (In re Elliot), 94 B.R.

343, 345 (E.D. Pa. 1988). Therefore, the Court may approve a sale free and clear

of liens even if all lien holders have not consented.




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                APPLICATION AND TERMS OF PROPOSED SALE

   A. Authority to Sell Real Property

      17.       The Trustee believes that the proposed sale satisfies §§ 363(f)(1) – (5)

of the Bankruptcy Code regarding any liens that encumber the Real Property.

      18.       The Real Property will be sold AS IS and WHERE IS, without any

representation or warranty, whether express or implied, including, but not limited

to, any warranties of merchantability, fitness for a particular purpose, or

habitability.

      19.       Under the terms of the proposed Order granting this Motion (Exhibit

1), any party holding a lien, other than the Lee County Treasurer, City of Sanibel,

and Finemark National Bank & Trust, (consensual or statutory) may not assert a

secured claim to the Estate’s interest in any sale proceeds from the sale of the Real

Property, but will instead have only unsecured (priority and/or general) claim(s)

against the Estate for any allowed claim(s) against the Estate. The Trustee is not

aware of any other encumbrances against the Real Property.

   B. Authority to Pay Commissions to Broker at Closing

      20.       The Trustee seeks authority to compensate the Broker at closing.

      21.       Subject to Court approval, the Broker is to be compensated at closing

in the amount of six percent (6%) of the gross proceeds realized from the sale of

the Real Property. If no auction takes place, as discussed below, compensation for



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the Broker will be forty-seven thousand one hundred & 00/100 ($47,100.00)

dollars; however, in the event of an auction, the Broker shall receive six percent

(6%) of the gross proceeds from the sale of the Real Property, pending the filing of

an application for compensation.

      22.   The compensation requested by the Broker is reasonable, and is for

actual and necessary services that absolutely benefitted the Estate. Through the

direct efforts of the Broker, the Trustee received the current offer to purchase the

Real Property.

      23.   The Trustee requests authority to compensate the Broker and to pay

broker commissions from the gross proceeds of sale, to be paid at closing.

   C. The Sale is Subject to Higher and Better Offers

      24.   Any party interested in submitting a competing bid on terms at least as

favorable as those stated in the Purchase Agreement must provide Broker with (i) a

signed purchase agreement on terms at least as favorable as Jesse Chase’s offer,

but with an opening bid of at least $800,000.00; and (ii) a deposit of at least

$25,000.00, paid in good and sufficient funds.

      25.   Any competing bids must be submitted to Broker by 5:00 PM EST on

the fifth (5th) business day following Court approval.




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      26.      In the event that any competing bids are timely received, Trustee will

conduct a public auction via telephone or virtual meeting. The auction, if any, will

be scheduled in the sole discretion of Trustee.

      27.      The Trustee shall have sole authority and discretion to (i) determine

who qualifies as a bidder based on, inter alia, an ability to close and compliance

with the order approving this Motion; and (ii) determine the successful bidder at

the Auction.

      28.      If an auction occurs, bidding will occur in increments of $1,000.00 or

such other amount as determined by the Trustee in his sound business judgment.

      29.      If an auction occurs and Jesse Chase is not the successful bidder, the

deposit shall be returned to Jesse Chase and he shall be entitled to receive and an

expense reimbursement not to exceed $2,000.00 of actual costs incurred by Jesse

Chase in his due diligence as his sole remedy.

      30.      If no other bidders come forward, then no auction will occur and

Trustee will close the sale, as contemplated in the Purchase Agreement, with Jesse

Chase, or his successor or assignee.

   D. Additional Relief Requested

      31.      The net proceeds from the sale of the Real Property shall be retained

by the Trustee, pending further Order of this Court.




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      32.    Trustee requests that, other than as otherwise ordered by the Court,

any party occupying the Real Property shall vacate the Real Property no later than

forty-eight (48) hours after entry of an order approving this motion; and (ii) leave

the Real Property in broom-clean condition with all fixtures and landscaping intact.

      33.    In the event that any party occupying the Real Property fails to timely

vacate the Real Property or fail to leave it in broom-clean condition with all

fixtures and landscaping intact, Trustee may, without further court action, (i) have

an appropriate law enforcement agency evict the party occupying the Real

Property; and (ii) make concessions to the buyer or pay out of pocket for the clean-

up costs or for any fixtures or landscaping not left intact. Moreover, the Trustee

may petition the Court to seek monetary damages against such non-complying

party(ies) in the event that they fail to cooperate with the Trustee’s sales efforts.

      34.    The Trustee requests that the Court grant the authority to execute any

and all documents and agreements and to do such things as may be necessary or

appropriate to implement and effectuate the sale.

      35.    The Trustee requests that notwithstanding the possible applicability of

Bankruptcy Rules 6004(h), 6006(d), 7062 and 9014, the Local Rules or otherwise,

the terms and conditions of the Order granting this Motion shall be effective

immediately upon entry and that the Trustee be authorized to close the sale of the

Real Property immediately upon entry of the Order granting this Motion.



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      36.   The Trustee requests that each and every appropriate federal, state,

and local governmental agency or department is ordered and directed to accept

transactions contemplated by the Order granting this Motion including, without

limitation, filings in the recording offices in Florida and governmental agencies or

departments.

                                 CONCLUSION

      WHEREFORE, Trustee requests that this Honorable enter the Order

Authorizing Trustee to Sell Real Property Free and Clear of Liens, to Compensate

Broker at Closing, and for Additional Related Relief attached hereto as Exhibit 1

and grant such other and further relief as this Honorable Court deems just and

proper.

                                      Respectfully submitted,
                                      STEVENSON & BULLOCK, P.L.C.

                                      By: /s/ Elliot G. Crowder
                                      Elliot G. Crowder (P76137)
                                      Counsel for Trustee
                                      26100 American Drive, Suite 500
                                      Southfield, MI 48034
                                      Phone: (248) 354-7906
                                      Facsimile: (248) 354-7907
                                      Email: ecrowder@sbplclaw.com
Dated: July 7, 2020




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                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION – DETROIT

IN THE MATTER OF:
Joseph G. DuMouchelle, and                     Bankruptcy Case No. 19-54531
Melinda J. Adducci                             Honorable Phillip J. Shefferly
                                               Chapter 7
                     Debtors.

    ORDER AUTHORIZING TRUSTEE TO SELL REAL PROPERTY FREE
     AND CLEAR OF LIENS, TO COMPENSATE BROKER AT CLOSING,
             AND FOR ADDITIONAL RELATED RELIEF

       This case is before the Court on the Chapter 7 Trustee’s Motion for Entry of

Order Authorizing Trustee to Sell Real Property Free and Clear of Liens, to

Compensate Broker at Closing, and for Additional Related Relief (the “Motion”);

notice having been provided properly, under Rule 2002 of the Federal Rules of

Bankruptcy Procedure; no timely objections having been filed or made to the

Motion, the Court being fully advised in the premises; and for the reasons stated by

the Court on the record during the hearing,

       NOW THEREFORE; IT IS HEREBY ORDERED that:

       1.     The Motion1 is granted in all respects.

Authorization to Sell Real Property

       2.     The Trustee is authorized to sell the real property commonly known

as 345 Cowry Court, Sanibel, FL 33957 (the “Real Property”) as set forth in the

1
  Capitalized terms contained herein shall have the same meaning as those in the Motion, unless
stated otherwise.


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Motion to Jesse Chase or his successor or assignee, or a similarly situated

person/entity (the “Purchaser”) for seven hundred eighty-five thousand & 00/100

($785,000.00) dollars pursuant to the terms and conditions contained in the

Purchase Agreement and Addendum thereto, attached to the Motion as Exhibit 6A.

The legal description of the Real Property is:

      The following described Land in the City of Sanibel, County of Lee, State of
Florida, described as follows:

                Lot 5, South Capers Subdivision according to the plat thereof
                recorded in Plat Book 41, Pages 79 to 81, inclusive, Public
                Records of Lee County Florida

                Property Tax ID #:       25-46-22-T3-01800.0050

                Commonly known as 345 Cowry Court, Sanibel, FL 33957

      3.        The Real Property shall be sold AS IS and WHERE IS, without any

representation or warranty, whether express or implied, including, but not limited

to, any warranties of merchantability, fitness for a particular purpose, or

habitability.

      4.        Any party holding a lien (consensual or statutory), other than Lee

County Treasurer, City of Sanibel, and Finemark National Bank & Trust, may not

assert a secured claim to the Estate’s interest in any sale proceeds from the sale of

the Real Property, but will instead have only unsecured (priority and/or general)

claim(s) against the Estate for any allowed claim(s) against the Estate. The claims

of the Lee County Treasurer, City of Sanibel, and Finemark National Bank & Trust


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shall be paid at closing, or, in the event that there is a dispute between the Trustee

and creditor for the liquidated claim, shall attach to the net sale proceeds from the

sale of the Real Property.

The Sale is Subject to Higher and Better Offers

      5.     Any party interested in submitting a competing bid on terms at least as

favorable as those stated in the Purchase Agreement must provide Broker with (i) a

signed purchase agreement on terms at least as favorable as Purchaser’s offer, but

with an opening bid of at least $800,000.00; and (ii) a deposit of at least

$25,000.00, paid in good and sufficient funds.

      6.     Any competing bids must be submitted to Broker by 5:00 PM EST on

the fifth (5th) business day following the entry of this Order.

      7.     In the event that any competing bids are timely received, Trustee will

conduct a public auction via telephone or virtual meeting. The auction, if any, will

be scheduled in the sole discretion of Trustee.

      8.     The Trustee shall have sole authority and discretion to (i) determine

who qualifies as a bidder based on, inter alia, an ability to close and compliance

with this Order; and (ii) determine the successful bidder.

      9.     If an auction occurs, (i) bidding will occur in increments of $1,000.00,

or such other amount as determined by the Trustee in his sound business judgment;

(ii) the successful bidder’s deposit will be non-refundable, applied toward the



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purchase price, and retained as liquidated damages in the event of default; and (iii)

if Jesse Chase is not the successful bidder, the deposit shall be returned to Jesse

Chase and he shall be entitled to receive and an expense reimbursement not to

exceed $2,000.00 of actual costs incurred by Jesse Chase in his due diligence as his

sole remedy.

      10.      If no other bidders come forward, then no auction will occur and

Trustee will close the sale, as contemplated in the Purchase Agreement, with Jesse

Chase.

Authorization to Compensate Broker

      11.      The Broker may be compensated at closing in the amount of six

percent (6%) of the gross proceeds realized from the sale of the Real Property. If

no auction takes place, compensation for the Broker will be forty-seven thousand

one hundred & 00/100 ($47,100.00) dollars; however, in the event of an auction,

the Broker shall receive six percent (6%) of the gross proceeds from the sale of the

Real Property, pending the filing of an application for compensation.

      12.      The Trustee is authorized to pay or cause to be paid at the closing

from the gross proceeds from the sale of the Real Property all of the customary

costs of sale and any other expenses or costs (including title company fees and

expenses) which are necessary to consummate the sale of the Real Property.




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Additional Relief Authorized

      13.     The net proceeds from the sale of the Real Property shall be retained

by the Trustee, pending further Order of this Court.

      14.     Unless otherwise ordered by the Court, any party occupying the Real

Property shall vacate the Real Property no later than forty-eight (48) hours after

entry of this Order; and (ii) leave the Real Property in broom-clean condition with

all fixtures and landscaping intact.

      15.     In the event that any party occupying the Real Property fails to timely

vacate the Real Property or fail to leave it in broom-clean condition with all

fixtures and landscaping intact, Trustee may, without further court action, (i) have

an appropriate law enforcement agency evict the party occupying the Real

Property; and (ii) make concessions to the buyer or pay out of pocket for the clean-

up costs or for any fixtures or landscaping not left intact. Moreover, the Trustee

may petition the Court to seek monetary damages against such non-complying

party(ies).

      16.     The Trustee is authorized to execute any and all documents and

agreements and to do such things as may be necessary or appropriate to implement

and effectuate the sale.

      17.     Each and every appropriate federal, state, and local governmental

agency or department is ordered and directed to accept transactions contemplated



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by this Order including, without limitation, filings in the recording offices in

Florida and governmental agencies or departments.

      18.   Notwithstanding the possible applicability of Bankruptcy Rules

6004(h), 6006(d), 7062 and 9014, the Local Rules or otherwise, the terms and

conditions of this Order shall be effective immediately upon entry.

      19.   This Court shall retain jurisdiction to enforce and interpret this Order.




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                                   UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION – DETROIT
IN THE MATTER OF:
Joseph G. DuMouchelle, and                                Bankruptcy Case No. 19-54531
Melinda J. Adducci                                        Honorable Phillip J. Shefferly
                     Debtors.                             Chapter 7

 NOTICE OF MOTION FOR ENTRY OF ORDER AUTHORIZING TRUSTEE TO SELL REAL
PROPERTY FREE AND CLEAR OF LIENS, TO COMPENSATE BROKER AT CLOSING, AND
                    FOR ADDITIONAL RELATED RELIEF
        PLEASE TAKE NOTICE that Trustee, Fred J. Dery, by and through his counsel, Stevenson &
Bullock, P.L.C., has filed a Motion for Entry of Order Authorizing Trustee to Sell Real Property Free and
Clear of Liens, to Compensate Broker at Closing, and for Additional Related Relief (“Motion”).
Consistent with the Motion, the Trustee seeks approval from the Court to sell the real property commonly
known as 345 Cowry Court, Sanibel, FL 33957 to Jesse Chase for the sum of $785,000.00, pursuant to
the terms and conditions set forth in the Purchase Agreement, a copy of which is attached to the Motion
as Exhibit 6A. The Real Property will be sold free and clear of liens. The Broker will be compensated at
closing in the amount of six percent (6%) of the gross sales price. Your rights may be affected. You may
wish to review the Motion and discuss it with your attorney, if you have one in this bankruptcy case. If
you do not have an attorney, you may wish to consult one.
        If you wish to object to the Court granting the relief sought in the Motion, or if you want the
Court to otherwise consider your views on the Motion, within twenty-one (21) days of service of the
Motion, or such shorter time as the Court may hereafter order, you or your attorney must:
1.         File with the Court a written response 2 or an answer, explaining your position at:
                                         United States Bankruptcy Court
                                              211 West Fort Street
                                            Detroit, Michigan 48226
If you mail your response to the Court for filing, you must mail it early enough so the Court will receive it
                     on or before the date stated above. You must also mail a copy to:
           Stevenson & Bullock, P.L.C.                         Office of the United States Trustee
              Attn.: Elliot G. Crowder                            211 West Fort Street, Suite 700
        26100 American Drive, Suite 500                               Detroit, Michigan 48226
            Southfield, Michigan 48034
        If a response or answer is timely filed and served, the clerk may schedule a hearing on the Motion
and you will be served with a notice of the date, time, and location of the hearing. If you or your attorney
do not take these steps, the Court may decide that you do not oppose the relief sought in the Motion and
may enter an Order granting the relief sought therein.
                                                      Respectfully submitted,
                                                      STEVENSON & BULLOCK, P.L.C.
                                                      By: /s/ Elliot G. Crowder (P76137)
                                                      Counsel for Trustee
                                                      26100 American Drive, Suite 500
                                                      Southfield, MI 48034
                                                      Phone: (248) 354-7906
Dated: July 7, 2020                                   Email: ecrowder@sbplclaw.com

2
    Response or answer must comply with FED. R. CIV. P. 8(b), (c) and (e).



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                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN
                    SOUTHERN DIVISION – DETROIT

IN THE MATTER OF:
Joseph G. DuMouchelle, and                Bankruptcy Case No. 19-54531
Melinda J. Adducci                        Honorable Phillip J. Shefferly
                                          Chapter 7
                  Debtors.

                         CERTIFICATE OF SERVICE

      Elliot Crowder hereby certifies that on July 7, 2020 copies of the Motion for
Entry of Order Authorizing Trustee to Sell Real Property Free and Clear of
Liens, to Compensate Broker at Closing, and for Additional Related Relief,
Proposed Order, Notice, and this Certificate of Service were served electronically
via the ECF System or email and/or by depositing same in a United States Postal
Box located in Southfield, Michigan, with postage fully prepaid thereon on:

Office of the United States Trustee        Any and all occupants
                                           345 Cowry Court
                                           Sanibel, FL 33957
All ECF participants



      Elliot Crowder further certifies that on July 7, 2020 a copy of the Notice was
served by depositing same in a United States Postal Box located in Southfield,
Michigan, with postage fully prepaid thereon on all parties appearing on Debtors’
matrix obtained from the Court’s CM/ECF website on July 7, 2020 and attached
hereto.




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                                      Respectfully submitted,
                                      STEVENSON & BULLOCK, P.L.C.

                                      By: /s/ Elliot G. Crowder
                                      Elliot G. Crowder (P76137)
                                      Counsel for Trustee
                                      26100 American Drive, Suite 500
                                      Southfield, MI 48034
                                      Phone: (248) 354-7906
                                      Facsimile: (248) 354-7907
Dated: July 7, 2020                   Email: ecrowder@sbplclaw.com




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Label Matrix for local noticing              1-800 Self-Storage.Com                        A- RON Resources, LLC
0645-2                                       2477 W Maple Rd                               224 15th Street
Case 19-54531-pjs                            Troy, MI 48084-7124                           Santa Monica, CA 90402-2210
Eastern District of Michigan
Detroit
Tue Jul 7 14:11:03 EDT 2020
A-RON Resources LLC                          Aaron Mendelsohn                              Melinda J. Adducci
c/o Glenn S. Walter/Honigman LLP             c/o Honigman LLP                              1221 Bowers
660 Woodward Ave., Ste. 2290                 660 Woodward Ave., Ste. 2290                  #2595
Detroit, MI 48226-3506                       Detroit, MI 48226-3506                        Birmingham, MI 48012-7102


Ally Bank                                    Ally Bank                                     American Express
P.O. Box 130424                              PO Box 130424                                 Customer Care / Bankruptcy
Saint Paul, MN 55113-0004                    Roseville, MN 55113-0004                      P.O. Box 297812
                                                                                           Fort Lauderdale, FL 33329-7812


American Express National Bank               Robert N. Bassel                              Kimberly Bedigian
c/o Becket and Lee LLP                       P.O. Box T                                    Stevenson & Bullock, P.L.C.
PO Box 3001                                  Clinton, MI 49236-0018                        26100 American Drive
Malvern PA 19355-0701                                                                      Suite 500
                                                                                           Southfield, MI 48034-6184

Leslie K. Berg (UST)                         Howard M. Borin                               Charles D. Bullock
211 W. Fort Street                           Schafer and Weiner, PLLC                      Stevenson & Bullock, P.L.C.
Suite 700                                    40950 Woodward Ave.                           26100 American Drive
Detroit, MI 48226-3263                       Ste. 100                                      Suite 500
                                             Bloomfield Hills, MI 48304-5124               Southfield, MI 48034-6184

(p)JPMORGAN CHASE BANK N A                   Chrysler Capital                              Chrysler Capital
BANKRUPTCY MAIL INTAKE TEAM                  Attn: Bankruptcy Department                   P.O. Box 961275
700 KANSAS LANE FLOOR 01                     P.O. Box 961278                               Fort Worth, TX 76161-0275
MONROE LA 71203-4774                         Fort Worth, TX 76161-0278


Credibly                                     Elliot G. Crowder                             Daniel A. DeMarco
25200 Telegraph Rd                           26100 American Drive                          200 Public Square
STE 350                                      Suite 500                                     Suite 2800
Southfield, MI 48033-7416                    Southfield, MI 48034-6184                     Cleveland, OH 44114-2306


Department Stores National Bank              Department Stores National Bank (Macy’s       Fred Dery
c/o Quantum3 Group LLC                       Bankruptcy Processing                         803 West Big Beaver
PO Box 657                                   P.O. Box 8053                                 Suite 353
Kirkland, WA 98083-0657                      Mason, OH 45040-8053                          Troy, MI 48084-4775


Detroit Athletic Club                        Discover                                      Discover Bank
31211 JEFFERSON AVE.                         DFS Services, LLC                             Discover Products Inc
ST CLAIR SHORES, MI 48082-1301               P.O. Box 3025                                 Po Box 3025
                                             New Albany, OH 43054-3025                     New Albany OH 43054-3025


Joseph G. DuMouchelle                        EZ Storage                                    East Continental Gems
1221 Bowers                                  18145 Mack Ave                                c/o Cindy Elizabeth Molloy, Esq.
#2595                                        Detroit, MI 48224-1444                        551 Fifth Avenue, 31st Floor
Birmingham, MI 48012-7102                                                                  New York, NY 10176-0001
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East Continental Gems, Inc.                     East Continental Gems, Inc.                       David Eisenberg
580 5th Avenue, Ste. 1115                       Attn: Eli Mirzoeff                                Maddin, Hauser, Roth & Heller, P.C.
New York, NY 10036-4726                         580 5th Avenue, Suite 1115                        28400 Northwestern Highway
                                                New York, NY 10036-4726                           Second Floor
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C/o Legal Department                            29777 Telegraph Road                              Anne Marie Rizzo
PO Box 850                                      Suite 2440                                        3240 Auten Rd
Fort Myers FL 33902-0850                        Southfield, MI 48034-7667                         Ortonville, MI 48462-8859


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                                                Detroit, MI 48224-2235

Oakland County Circuit Court                    Office of the United States Trustee               On Deck Capital, Inc.
1200 N. Telegraph Road                          Ohio/Michigan Regional Office                     1400 Broadway
Pontiac, MI 48341-0404                          211 West Fort Street                              New York, NY 10018-5300
                                                Suite 700
                                                Detroit, Michigan 48226-3263
                                                Attn: Quarterly Fee Coordinator
PRA Receivables Management, LLC                 Nathan D. Petrusak                             Precious Stones Company
PO Box 41021                                    12900 Hall Rd.                                 c/o Honigman LLP
Norfolk, VA 23541-1021                          Suite 350                                      2290 First National Bldg.
                                                Sterling Heights, MI 48313-1174                660 Woodward Ave.
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                                                                                                                20 of 52
Jay Richter                                          Karen L. Rowse-Oberle                                Deborah S. Rubin
John R. Wood Properties                              24525 Harper Ave.                                    27777 Franklin Road
1019 Periwinkle Way                                  Suite Two                                            Suite 2500
Sanibel, FL 33957-6914                               St. Clair Shores, MI 48080-1286                      Southfield, MI 48034-8214


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Suite 1200                                           Sterling Heights, MI 48313-1174                      Southfield, MI 48033-2527
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Simply Self Storage                                  Synchrony Bank (Lowe’s)                              Teodor Gelov
20355 E 9 Mile Rd                                    Bankruptcy Department                                c/o Jaffe Raitt Heuer & Weiss PC
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                                                     Orlando, FL 32896-5060                               27777 Franklin Rd Ste 2500
                                                                                                          Southfield, MI 48034-8222

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Royal Oak, MI 48073-0903


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40950 Woodward Ave.                                  27777 Franklin Rd.                                   100 Highland Park Village
Suite 100                                            Suite 2500                                           Dallas, TX 75205-2784
Bloomfield Hills, MI 48304-5124                      Southfield, MI 48034-8214


William Noble Rare Jewels, LP
Attn: William Noble
100 Highland Park Village, Ste. 200
Dallas, TX 75205-2720




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                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Chase                                                US Bank
P. O. Box 15298                                      P.O. Box 5229
Wilmington, DE 19850-5298                            Cincinnati, OH 45201-5229

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(u)J. Noseda and Son, Inc.                             (u)J.B. International                                (du)J.B. International, LLC




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(u)Thomas Ritter                                       (u)Sanibel Captiva Community Bank                    (u)Santander Consumer USA, Inc.




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